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                                                                          Attorneys for Defendants Reed Hein & Associates,
                                                                      9   Brandon Reed, Trevor Hein and Thomas Parenteau

                                                                     10
                                                                                                    UNITED STATES DISTRICT COURT
Gordon Rees Scully Mansukhani, LLP




                                                                     11
                                                                                                          DISTRICT OF NEVADA
                                     300 S. 4th Street, Suite 1550




                                                                     12
                                        Las Vegas, NV 89101




                                                                     13   DIAMOND RESORTS INTERNATIONAL, INC., a )           Case No.: 2:17-cv-03007-APG-VCF
                                                                          Delaware corporation; DIAMOND RESORTS          )
                                                                     14   CORPORATION, a Maryland corporation;           )
                                                                          DIAMOND RESORTS U.S. COLLECTION                )
                                                                     15   DEVELOPMENT, LLC, a Delaware limited liability )   STIPULATION AND ORDER TO
                                                                          company; and DIAMOND RESORTS                   )   EXTEND TIME TO FILE REPLY
                                                                     16   MANAGEMENT, INC., an Arizona corporation,      )   BRIEFS IN SUPPORT OF
                                                                                                                         )   MOTIONS TO DISMISS
                                                                     17                          Plaintiffs,             )
                                                                                                                         )   (FIRST REQUEST)
                                                                     18   vs.                                            )
                                                                                                                         )
                                                                     19   REED HEIN & ASSOCIATES, LLC, d/b/a             )
                                                                          TIMESHARE EXIT TEAM, a Washington limited )
                                                                     20   liability company; BRANDON REED, an individual )
                                                                          and citizen of the State of Washington; TREVOR )
                                                                     21   HEIN, an individual and citizen of Canada;     )
                                                                          THOMAS PARENTEAU, an individual and citizen )
                                                                     22   of the State of Washington; HAPPY HOUR MEDIA )
                                                                          GROUP, LLC, a Washington limited liability     )
                                                                     23   company; MITCHELL REED SUSSMAN, ESQ.           )
                                                                          d/b/a THE LAW OFFICES OF MITCHELL REED )
                                                                     24   SUSSMAN & ASSOCIATES, an individual citizen )
                                                                          of the State of California; SCHROETER,         )
                                                                     25   GOLDMARK & BENDER, P.S. A Washington           )
                                                                          professional services corporation; and KEN B.  )
                                                                     26   PRIVETT, ESQ., a citizen of Oklahoma,          )
                                                                                                                         )
                                                                     27                          Defendants.             )
                                                                                                                         )
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                                                                      1          Pursuant to Local Rules 6-1 and 7-1, Plaintiffs DIAMOND RESORTS

                                                                      2   INTERNATIONAL, INC.; DIAMOND RESORTS CORPORATION; DIAMOND RESORTS

                                                                      3   U.S. COLLECTION DEVELOPMENT, LLC; and DIAMOND RESORTS MANAGEMENT,

                                                                      4   INC., (“Plaintiffs”), and Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE

                                                                      5   EXIT TEAM; BRANDON REED; and TREVOR HEIN (“Reed Hein Defendants”) and HAPPY

                                                                      6   HOUR MEDIA GROUP, LLC (“Happy Hour”), by and through their respective attorneys of

                                                                      7   record, stipulate as follows:

                                                                      8                                             STIPULATION
                                                                      9          1.      Plaintiffs filed their Complaint on December 6, 2017 [ECF No. 1].

                                                                     10          2.      The Reed Hein Defendants filed a motion to dismiss. [ECF No. 22].
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                                                                     11          3.      The Court dismissed certain claims and the individual defendants from the lawsuit
                                     300 S. 4th Street, Suite 1550




                                                                     12   and allowed Plaintiffs to file an amended complaint. [ECF No. 50].
                                        Las Vegas, NV 89101




                                                                     13          4.      Plaintiffs filed their Amended Complaint for Damages and Injunctive Relief

                                                                     14   (“Amended Complaint”) on January 4, 2019 [ECF No. 59].

                                                                     15          5.      The Amended Complaint in this case involves complex claims of business tort,

                                                                     16   unfair business practices, and false advertising.

                                                                     17          6.      The parties agreed to an extension of time for Reed Hein Defendants and Happy

                                                                     18   Hour to respond to the Amended Complaint until February 28, 2019. [ECF No. 71] and [ECF
                                                                     19   No. 73].

                                                                     20          7.      On February 28, 2019, Reed Hein Defendants filed its Motion for Partial

                                                                     21   Dismissal of Amended Complaint [ECF No. 87].

                                                                     22          8.      On February 28, 2019, Happy Hour filed its Motion to Dismiss Amended

                                                                     23   Complaint. [ECF No. 88].

                                                                     24          9.      The parties agreed to an extension of time for Plaintiffs to file their responses to

                                                                     25   Reed Hein Defendants and Happy Hours’ Motions to Dismiss until March 25, 2019 in order for

                                                                     26   Plaintiffs to fully brief the legal issues. [ECF No. 94].

                                                                     27          10.     On March 25, 2019, Plaintiffs filed their Memorandum of Points and Authorities

                                                                     28   in Opposition to Reed Hein Defendants and Happy Hour’s Motions to Dismiss. [ECF No. 96 and

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                                                                      1   97]. The Reply Briefs in support of the Defendants’ motions are currently due on April 1, 2019.

                                                                      2          11.     Due the numerous legal issues raised by the claims made in this case, and in order

                                                                      3   to adequately brief the pending motions, the Reed Hein Defendants and Happy Hour request an

                                                                      4   additional seven (7) days to file their Replies, or until April 8, 2019. This is the first request for

                                                                      5   extension of time related to the filing of Reply Briefs.

                                                                      6          12.     The undersigned counsel conferred with Plaintiffs’ counsel and Plaintiffs do not

                                                                      7   oppose the extension request.

                                                                      8          13.     This stipulation is not made for purposes of delay.

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Gordon Rees Scully Mansukhani, LLP




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                                     300 S. 4th Street, Suite 1550




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                                        Las Vegas, NV 89101




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                                                                           1          14.     Therefore, the parties agree that the Reed Hein Defendants’ and Happy Hour’s

                                                                           2   respective Replies in support of the Motions to Dismiss Amended Complaint are now due on or

                                                                           3   before April 8, 2019.

                                                                           4   DATED: March _29th__, 2019.                     DATED: March _29th__, 2019.

                                                                           5   GORDON REES SCULLY MANSUKHANI,                  COOPER LEVENSON, P.A.
                                                                               LLP
                                                                           6

                                                                           7   /s/ David T. Gluth                              /s/ Daniel J. Barsky
                                                                               ROBERT S. LARSEN, ESQ.                          DANIEL J. BARSKY, ESQ.
                                                                           8                                                   Florida Bar No. 25713
                                                                               Nevada Bar No. 7785
                                                                           9   DAVID T. GLUTH, II, ESQ.                        (Admitted Pro Hac Vice)
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                                                                          11
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                                                                          12   Associates, Brandon Reed and Trevor Hein        Nevada Bar No. 5065
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                                                                               and Happy Hour Media Group, LLC                 R. SCOTT RASMUSSEN, ESQ.
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                                                                          15                                                   ALFRED J. BENNINGTON, JR., ESQ.
                                                                                                                               Florida Bar No. 404985
                                                                          16                                                   (Admitted Pro Hac Vice)
                                                                                                                               GLENNYS ORTEGA RUBIN, ESQ.
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                                                                          19                                                   Orlando, Florida 32801

                                                                          20                                                   Attorneys for Plaintiffs

                                                                          21
                                                                                                                          ORDER
                                                                          22
                                                                                                                          IT IS SO ORDERED.
                                                                          23

                                                                          24                                              UNITED STATES DISTRICT JUDGE

                                                                          25                                                          April 1, 2019
                                                                                                                          DATED:
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